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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
RICARDO NOAIN,                            §     CIVIL ACTION NO. 18-1303
on behalf of himself and a class of those §
similarly situated,                       §
                                          §
Plaintiff,                                §
                                          §
v.                                        §     COLLECTIVE ACTION
                                          §
RITRAN, INC., dba International           §
House of Pancakes,                        §
                                          §
Defendant.                                §

                     UNOPPOSED MOTION TO WITHDRAW

TO THE HONORABLE JUDGE SCHOLER:

       I, Philip J. Moss, attorney for Plaintiff Ricardo Noain, file this unopposed Motion

to Withdraw as Attorney of Record pursuant to Local Rule 83.12. I respectfully request

this Court issue an order permitting my withdrawal from representing Plaintiff.

       This request is made on the grounds that as of Friday, July 6, 2018, I will no longer

be employed by the Equal Justice Center. The Plaintiff will continue to be represented by

Equal Justice Center attorney and lead counsel Shana Khader.

       Ms. Alexander’s contact information is as follows:

                      Shana Khader
                      Texas State Bar No. 24099860
                      skhader@equaljusticecenter.org
                      EQUAL JUSTICE CENTER
                      1250 W. Mockingbird Ln., Ste. 455
                      Dallas, Texas 75247
                      Tel (469) 228-4238
                      Fax (469) 941-0861




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        As the attorney in charge, Shana Khader will continue to be responsible for the

lawsuit and will be the attorney to receive all communications from the Court and from

other parties.

        For these reasons, I respectfully request this Court grant my motion to withdraw as

attorney for Plaintiff.

Dated: June 26, 2018.

                                             Respectfully submitted,


                                             /s/ Philip J. Moss
                                             Philip J. Moss
                                             Texas Bar #: 24074764
                                             EQUAL JUSTICE CENTER
                                             8301 Broadway St., Ste. 309
                                             San Antonio, TX 78209
                                             Tel. (210) 308-6222, ext. 102
                                             Fax (210) 308-6223
                                             pmoss@equaljusticenter.org

                                             Shana Khader
                                             Texas State Bar No. 24099860
                                             skhader@equaljusticecenter.org
                                             EQUAL JUSTICE CENTER
                                             1250 W. Mockingbird Ln., Ste. 455
                                             Dallas, Texas 75247
                                             Tel (469) 228-4238
                                             Fax (469) 941-0861

                                             ATTORNEYS FOR PLAINTIFFS




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                          CERTIFICATE OF CONFERENCE

This is to certify that on June 24, 2018. Plaintiff’s counsel conferred by email with counsel
for Defendant, and they indicated that the Defendant was unopposed to this motion.

                                                             /s/ Philip J. Moss
                                                             Philip J. Moss

                             CERTIFICATE OF SERVICE

I hereby certify that on June 26, 2018, I transmitted the attached document to the Clerk of
Court using the ECF system to the parties below:

                       Kimberly S. Moore
                       Clark Hill Strasburger
                       2600 Dallas Parkway
                       Suite 600
                       Frisco, Texas 75034
                       Kim.moore@clarkhillstrasburger.com

                       Attorney for Defendant


                                                             /s/ Philip J. Moss
                                                             Philip J. Moss




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